     Case 4:23-cv-04155-YGR           Document 213        Filed 03/12/24      Page 1 of 11




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     ERNEST GALVAN – 196065                        Mass. Bar No. 691821
 2   KARA J. JANSSEN – 274762                     AMARIS MONTES*
     ADRIENNE SPIEGEL – 330482                     Md. Bar No. 2112150205
 3   LUMA KHABBAZ – 351492                        RIGHTS BEHIND BARS
     ROSEN BIEN                                   416 Florida Avenue N.W. #26152
 4   GALVAN & GRUNFELD LLP                        Washington, D.C. 20001-0506
     101 Mission Street, Sixth Floor              Telephone:    (202) 455-4399
 5   San Francisco, California 94105-1738         Email:        oren@rightsbehindbars.org
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 6   Email:        mbien@rbgg.com
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 7                 kjanssen@rbgg.com               N.Y. Bar No. 4979357
                   aspiegel@rbgg.com              ARNOLD & PORTER KAYE SCHOLER LLP
 8                 lkhabbaz@rbgg.com              250 West 55th Street
                                                  New York, New York 10019-9710
 9 SUSAN M. BEATY – 324048                        Telephone: (212) 836-8000
   CALIFORNIA COLLABORATIVE FOR                   Email:      stephen.cha-kim@arnoldporter.com
10 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800               CARSON D. ANDERSON – 317308
11 Oakland, California 94612-4700                 ARNOLD & PORTER KAYE SCHOLER LLP
   Telephone:    (510) 679-3674                   3000 El Camino Real
12 Email:        susan@ccijustice.org             Five Palo Alto Square, Suite 500
                                                  Palo Alto, California 94306-3807
13                                                Telephone: (650) 319-4500
                                                  Email:       carson.anderson@arnoldporter.com
14
                                                  *
                                                      Admitted Pro hac vice
15 Attorneys for Plaintiffs
16
17                                  UNITED STATES DISTRICT COURT

18                    NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

19
20 CALIFORNIA COALITION FOR WOMEN                               Case No. 4:23-cv-04155
     PRISONERS et al.,
21              Plaintiffs,                                     PROOF OF SERVICE PURSUANT
                                                                TO FEDERAL RULES OF CIVIL
22        v.                                                    PROCEDURE, RULE 4(i) FOR
                                                                DEFENDANT CYNTHIA JONES
     UNITED STATES OF AMERICA FEDERAL
23   BUREAU OF PRISONS et al.,                                  Judge: Hon. Yvonne Gonzales Rogers
24              Defendants.

25                                                              Trial Date:          None Set

26
27
28
     [4453152.1]                                                            Case No. 4:23-cv-04155
               PROOF OF SERVICE PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE, RULE 4(i) FOR
                                       DEFENDANT CYNTHIA JONES
     Case 4:23-cv-04155-YGR              Document 213       Filed 03/12/24     Page 2 of 11




 1                 I, Linda Woo, declare as follows:
 2                 1.    At the time of service I was at least 18 years of age and not a party to this
 3 lawsuit.
 4                 2.    I served copies of the following documents and attachments (hereinafter,
 5 collectively, the “Copies”):
 6                      Civil Complaint (Dkt No. 1);
 7                      Summons in a Civil Case (Dkt. No. 37);
 8                      Standing Order for Judge Yvonne Gonzales Rogers; and
 9                      Standing Order for All Judges of the Northern District of California –
                         Contents of Joint Case Management Statement.
10
                   3.    I served Cynthia Jones, in her individual capacity, in compliance with the
11
     Federal Rules of Civil Procedure, Rule 4(i) by doing each of the following:
12
                         a.     Service on the United States Attorney for the Northern District of
13
     California
14
                   I caused to be served via Registered Process Server the Copies to:
15
                         U.S. Attorney for the Northern District of California
16                       Federal Building
                         450 Golden Gate Avenue, 11th Floor
17                       San Francisco, CA 94102
18
                   A true and correct copy of the Declaration of Process Server showing service on
19
     October 27, 2023 is attached hereto as Attachment 1.
20
                         b.     Mail Service on the Attorney General of the United States.
21
                   On October 27, 2023, in compliance with the Federal Rules of Civil Procedure. I
22
     mailed the Copies to the Attorney General of the United States, addressed to:
23
                         Merrick Garland
24                       Attorney General of the United States
                         U.S. Department of Justice
25                       950 Pennsylvania Avenue, N.W.
                         Washington, DC 20530-0001
26                       Certified Mail Receipt No. 7018 3090 0000 1556 9662
27
                   I enclosed the Copies in a sealed envelope or package addressed to the person at the
28
     [4453152.1]                                  2                         Case No. 4:23-cv-04155
               PROOF OF SERVICE PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE, RULE 4(i) FOR
                                       DEFENDANT CYNTHIA JONES
     Case 4:23-cv-04155-YGR              Document 213       Filed 03/12/24   Page 3 of 11




 1 addresses listed above and placed the envelope for collection and mailing via Certified
 2 Mail, Return Receipt Requested, following our ordinary business practices. I am readily
 3 familiar with the practice of Rosen Bien Galvan & Grunfeld LLP for collecting and
 4 processing correspondence for mailing. On the same day that the correspondence is placed
 5 for collection and mailing, it is deposited in the ordinary course of business with the
 6 United States Postal Service, in sealed envelopes with postage fully prepaid. A copy of the
 7 Certified Mail Receipt date stamped by the U.S. Postal Service and the signed Return
 8 Receipt is attached hereto at Attachment 2.
 9                       c.     Service on an officer of the United States sued in their individual
10 capacity.
11                 I caused to be served via Registered Process Server the Copies along with the Order
12 Granting Plaintiffs’ Ex Parte Request for Enlargement of Time Under Fed. R. Civ. P. 6(b)
13 & 4(i)(4)(B) (ECF 146) and the First Amended Complaint (ECF 152) to:
14                       Cynthia Jones
                         9200 Alcosta Blvd., Apt. L1
15                       San Ramon, CA
16                 A true and correct copy of the Declaration of Process Server showing service on
17 March 4, 2024 is attached hereto as Attachment 3.
18                 4.    My name, address, and telephone number are:
19                       Linda Woo
                         Rosen Bien Galvan & Grunfeld LLP
20                       101 Mission Street, Sixth Floor
                         San Francisco, CA 94105-1738
21                       (415) 433-6830
22                 5.    I am not a registered California process server.
23                 I declare under penalty of perjury under the laws of the United States of America
24 that the foregoing is true and correct and that I am employed in the office of a member of
25 the bar of this Court at whose direction the service was made.
26 / / /
27 / / /
28 / / /
     [4453152.1]                                  3                         Case No. 4:23-cv-04155
               PROOF OF SERVICE PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE, RULE 4(i) FOR
                                       DEFENDANT CYNTHIA JONES
     Case 4:23-cv-04155-YGR               Document 213     Filed 03/12/24      Page 4 of 11



1                  Executed on March 12, 2024, at San Francisco, California.

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                                                                                     Case No. 4:23-cv-04155
     [4453152.1]
               PROOF OF SERVICE PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE, RULE 4(i) FOR
                                       DEFENDANT CYNTHIA JONES
Case 4:23-cv-04155-YGR   Document 213   Filed 03/12/24   Page 5 of 11




  ATTACHMENT 1
                            Case 4:23-cv-04155-YGR                           Document 213    Filed 03/12/24         Page 6 of 11
      ATTORNEY OR PARTY WTHOUf ATTORNEY       (/V.m, Shrr Bat nu bot, and a.Eness)                                          FOR COURT USE OIVT Y

  -     KARA JANSSEN ISBN: 274762
        Rosen, Bien, Galvan & Grunfeld LLP
        101 Mission Street, Sixth Floor San Francisco, CA 94105
       TELEPHONE NO. (415) 433€830 | EAX NO lE-MAIL ADORESS     fodiora,
        ATTORNEY FOR ( /ame). Plaintifl.



      United States District Court
            srREEr AooREss, 450 Golden Gate Avenue
            MAILINGADDRESS.

           ctryaNDztp coDE:san Francisco, cA 94102
                BRANCH NAME Northern       District of Calilomia
            PLAINTIFF/PETITIONER CALIFORNAI COALITION FOR WOMEN PRISIONERS. Et AI                            CASE NUMBER:


       DEFENDANT/RESPONDENT                UNITED STATES OF AMERICA FEDERAL BUREAU OF                        4:23CV-04'155-YGR
                                           PRISIONS, a governmental entity, et al.
          PROOF OF SERVICE                                                                                                        672-7


  AT THE TIME OF SERVICE I WAS AT LEAST 18 YEARS OF AGE AND NOT A PARTY TO THIS ACTION
  I SERVED COPIES OF THE FOLLOWING DOCUMENTS:

      SUMMONS lN A CIVIL ACTION; COMPLAINT; STANDING ORDER FOR ALL JUDGES OF THE NORTHERN
      DISTRICT OF CALIFORNIA; STANDING ORDER lN CIVIL CASES - JUDGE WONNE GONZALEZ ROGERS
                     PARTY SERVED: LT. CYNTHIA JONES, in her individual capacity
                  PERSON SERVEDj Jeffrey McCoy - Receptionist
  DATE & TIME OF DELIVERY: 1012712023
                           11:00 Ai,
ADDRESS, CITY, AND STATE: 450 Golden Gate Avenue
                          San Francisco, cA 94102

MANNER OF SERVICE:
  Personal Service - By personally delivering copies

WITNESS FEES:
  were offered or demanded and paid: $ .00.




  Fee for Service:$ 35 .00                                                            I declare under penalty of perjury under the laws of the
        County: San Erancisco                                                         United States that the foregoing information contained
        Registration No.: 1501                                                        in the return of service and statement of service fees is
        Specialized Legal Services , Inc .                                            true and correct and that this declaration was executed
        1112 Bryant St., Suite 2OO                                                    on October 27, 2023
        San Francisco, CA 94103
        (41s) 3s7-0500
        R.ef: 612-1                                                                   Signature
                                                                                                                    Be      I          r

                                                                      PROOF OF SERVI                                                               P205769
Case 4:23-cv-04155-YGR   Document 213   Filed 03/12/24   Page 7 of 11




  ATTACHMENT 2
Case 4:23-cv-04155-YGR                   Document 213                              Filed 03/12/24                                 Page 8 of 11




                                       U.S. Postal Service™
                             ru        CERTIFIED MAIL® RECEIPT
                             j]        Domestic Mail Only
                             cr        For delivery information, visit our website at www.usps.com''

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                                   PS Form 3800, April 2015 PSff 7530-02-000-9047                      See Reverse for Instructions




          SENDER: COMPLETE THIS SECTION                                                     COMPLETE THIS SECTION ON DELIVERY


          ■ Complete items 1,2, and 3.                                                      A. Signature
                                                                                                                                                       □ Agent
          ■ Print your name and address on the reverse                                      X
             so that we can return the card to you.                                                                                                    □ Addressee
                                                                                            B. Received by (Printed Name)                          C. Date of Delivery
          ■ Attach this card to the back of the mailpiece,
             or on the front if space permits.                                                          1'n 'U . u 0 , ,il3
          1. Article Addressed to;                                                          D. Is delivery address different from item 1 ? □ Yes
                                                                                               If YES, enter delivery address below:       □ No
           Merrick Garland, U.S. Attorney General
           U.S. Department of Justice
           950 Pennsylvania Ave., N.W.
           \A/ashington, D.C. 20530-0001
                                                                                         3. Service Type                                      □ Priority Mail Express®
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                 9590 9402 7286 2028 3402 79                                            □ Certified Mail Restricted Delivery                  □ Signature Confirmation7“
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          2. Article Number (Transfer from service label)
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         I PS Form 3811, July 2020 PSN 7530-02-000-9053                                                                                      Domestic Return Receipt
Case 4:23-cv-04155-YGR   Document 213   Filed 03/12/24   Page 9 of 11




  ATTACHMENT 3
                Case
                   Case
                     4:23-cv-04155-YGR
                        4:23-cv-04155-YGRDocument
                                           Document
                                                  213
                                                    37 Filed 03/12/24
                                                             10/26/23 Page
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                            for the
                                                        Northern District
                                                     __________  District of
                                                                          of California
                                                                             __________

      CALIFORNIA COALITION FOR WOMEN                                              )
  PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;                                )
  A.S.; and L.T., individuals on behalf of themselves                             )
            and all others similarly situated
                                                                                  )
                            Plaintiff(s)                                          )
                                                                                  )
                                v.                                                                    Civil Action No. 4:23-cv-04155-YGR
                                                                                  )
UNITED STATES OF AMERICA FEDERAL BUREAU                                           )
    OF PRISONS, a governmental entity; et al.
                                                                                  )
                                                                                  )
                                                                                  )
                           Defendant(s)                                           )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DARRELL SMITH, in his individual capacity
                                           471 Tiger Hammock Road
                                           Crawfordville, FL 32327

                                           (Additional Defendants to be served pursuant to Fed. R. Civ. P. 4(i)(3) listed on
                                           Continuation Page)


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Kara J. Janssen
                                           Rosen Bien Galvan & Grunfeld LLP
                                           101 Mission Street, Sixth Floor
                                           San Francisco, CA 94105


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:     10/26/2023                                                                                                                            S. Campos
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                                                                                                                         Signature of Clerk or Deputy Clerk
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AO 440 Summons in a Civil Action (Page 2)
                  Case 4:23-cv-04155-YGR                            Document 213       Filed 03/12/24                  Page 11 of 11
Civil Action No. 4:23-cv-04155-YGR


                                                              PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)
        This summons for: Lt. Cynthia Jones, in her individual capacity, TBD
        was received by me on March 4, 2024

            I personally served the SUMMONS IN A CIVIL ACTION on the individual at 9200 ALCOSTA BLVD, APT
            L1 , SAN RAMON, CA on 2/28/2024 8:01 PM

            I left the at the individual's residence or usual place of abode with ,a person of suitable age and discretion who
            resides there, on (date) , and mailed a copy to the individual's last known address; or

            I served the to , who is designated by law to accept service of process on behalf of                on ;or

            other (specify):

        My fees are $ for travel and $ for services, for a total of $ 324.23


        I declare under penalty of perjury that this information is true.




Date: 3/4/2024
                                                                                                   Server's signature




                                                                                                  Sergio Romero
                                                                                                 Printed name and title
                                                                                              Ace Attorney Service, Inc.
                                                                               800 S. Figueroa Street, Suite 900, Los Angeles, CA 90017
                                                                                    Phone: (213) 623-3979 / Fax: (213) 623-7527
                                                                                    Registration No.: 1627 / County: ALAMEDA
                                                                                                    Server's Address



Additional information regarding attempted service, etc.:

In addition to the SUMMONS IN A CIVIL ACTION, "COMPLAINT - JURY TRIAL DEMANDED; CIVIL
COVER SHEET; ORDER GRANTING PLAINTIFFS’ EX PARTE REQUEST FOR ENLARGEMENT
OF TIME UNDER FED. R. CIV. P. 6(b) & 4(i)(4)(B); FIRST AMENDED COMPLAINT - JURY TRIAL
DEMANDED; STANDING ORDER IN CIVIL CASES; STANDING ORDER FOR ALL JUDGES OF
THE NORTHERN DISTRICT OF CALIFORNIA - CONTENTS OF JOINT CASE MANAGEMENT
SYSTEM", were served as well.




                                                                                                                                A0440-2291746
